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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
       Plaintiff,                                  )        No. 6:19-CR-30-REW-HAI
                                                   )
 v.                                                )
                                                   )                  ORDER
 JORDAN P. MOORE,                                  )

       Defendant.
                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 127) of United States

Magistrate Judge Hanly A. Ingram, addressing Defendant Jordan P. Moore’s guilty plea as to the

lesser-included offense of the sole count of the Indictment (DE 9). DE 126 (Minutes). Defendant

appeared before Judge Ingram on May 29, 2020. Id. After consenting to plead before a United

States Magistrate Judge (DE 125) and after engaging in the full colloquy required by Rule 11,

Moore proceeded to plead guilty. DE 127. Judge Ingram found Defendant competent to plead and

that she did so in a knowing and voluntary fashion; he further found that an adequate factual basis

supported the plea as to each essential element of the offense. Id. Accordingly, Judge Ingram

recommended that the Court accept Defendant’s plea and adjudge her guilty of the lesser-included

offense of the sole count of the Indictment. Id.

       Defendant had three days within which to object to Judge Ingram’s recommendation, and

she has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.



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466, 472 (1985). When the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 127), accepts the plea, and

ADJUDGES Jordan P. Moore guilty of the lesser-included offense of the sole count of the

Indictment. An Order scheduling sentencing follows. Defendant remains detained per prior Orders.

        This the 4th day of June, 2020.




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